Case 2:04-cv-02637-SHI\/|-dkv Document 25 Filed 06/23/05 Page'lon P e|D 33

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IN THE UNITED STATES DISTRICT coURT 'u’ " " ~ -~ 3-(»-
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zURICH SPECIALTIES LONDON, L'I‘D-, W‘D']OFQY§- EFE*WF”H'§

Plaintiff,
VS. NO. 04~2637-Mav
RON MOORE, d/b/a R&J DISTRIBUTION;
PHILLIP MORRIS, USA; HUB GROUP
DISTRIBUTION SERVICES; and
DONN OSTRANDER, d/b/a MID SOUTH
DISTRIBUTION,

Defendants.

 

ORDER OF DISMISSAL

 

The plaintiff has filed a stipulation of dismissal pursuant
to Rule 41 in this matter. For good cause shown, plaintiff's
motion to voluntarily non-suit this case is granted and this
matter is DISMISSED without prejudice.

'r>A

It is so ORDERED this day of June, 2005.

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SAMUEL H. M.AYS, JR.
UNITED STATES DISTRICT JUDGE

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Honorable Samuel Mays
US DISTRICT COURT

